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Pro Se Litigant

IN THE UNITED STATES DISTRICT COURT DISTRICT FOR

THE NORTHERN DISTRICT OF FLORIDA (Pensacola Division)

RUSSELL G. GREER,
Plaintiff

Vv.

JOSHUA MOON, publisher of the website
Kiwi Farms, and KIWI FARMS, a website

Defendants

PLAINTIFF’S SECOND REQUEST TO
EXTEND DEADLINES and RESPOND TO
MOTIONS

Case No.: 3:24-cv-00122-MCR-ZCB

Judge
Magistrate Judge:
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Plaintiff Russell Greer comes now and says:

INTRODUCTION

This case has taken a whirlwind of events in the past 4 months. Plaintiff was procedurally
confused on the effects of a Motion to Stay, that he filed because his former appellate counsel
(the Digital Justice Foundation, herein referred to as the “DJF”) said they might represent him,
and the next thing he knew, this case was somehow transferred to the Northern District of
Florida, a place he has never been, with zero empathy and sympathy from the District of Utah.
This entire fiasco of events is particularly confusing, given that the 10" Circuit of Appeals ruled
in Plaintiff's favor in November.

RECAPPING THE LAST 4 MONTHS

Case Origin

To preface, this case originated because Greer caught the attention of Kiwi Farms, a site built
upon the torment and harassment of random individuals (which the site refers to as “Lolcows’’)
that anonymous individuals can target from the protections of the Kiwi Farms website. This is a
widely known fact, as seen in EXHIBIT A. Publications from NBC to USA Today to The Daily
Beast all have documented the actions of Joshua Moon’s site. Said site has been complicit in at
least 3 suicides and a school shooting. Joshua Moon himself even taunted an investigator, who
was investigating the Auckland Mosque massacre from 2018. EXHIBIT B.

These are all facts.

Plaintiff has done his darndest to ignore this site that thrives on the pain and misery of others.
It’s almost a monthly ordeal where kiwi farms users send Greer abusive messages on all
platforms and means of communication. Some of these people have claimed they don’t live in
the USA and that “the fat American cops” can’t catch them.

Because of the salacious commentary Kiwi Farms has done on him, which has reached all

comers of the internet, Greer’s dreams are crushed and scattered because of Kiwi Farms.
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Plaintiff even begged Joshua Moon, site owner, to remove him from 2018-2019. Moon instead
taunted Greer through email communication, also had a supposed attorney email Greer (a “Larry
Landers”) and published the communication onto his site. This is very strange behavior because
Greer has never met Mr. Moon, but as shown in Exhibit B, this is not abnormal behavior of Mr.
Moon.

Greer filed and pursued this suit because Moon clearly secondarily violated Greer’s
copyrights, which is something the Communications Decency Act (a law Moon likes to flaunt in
the faces of his victims) does not protect. Copyright infringement seemed to be the only way to
try to get Joshua Moon to stop. The Tenth Circuit Court of Appeals agreed with Greer and ruled
in his favor in October 2023. Greer v. Moon, 83 F.4 1283 (10" Circuit 2023).

This is also a fact.

Successive January Motions

Then in January, the Defendants filed a slew of motions (Docs. 62 to 66, 68). Most of these
were motions that Plaintiff tried researching to answer, but either didn’t know how to answer or
wasn’t comfortable in his ability. He initially filed a Motion to Extend Deadlines (Doc. 71) and it
was granted (Doc. 73). Since Greer had been talking to the DJF about representing him at the
District Level, it made sense to stay the case for 90 days to bring counsel on, a motion Greer
filed in Doc 77.

DJF’s Stipulations

For the DJF to come on, Greer needed to pay them a large sum of money that Greer didn’t

have on him. So Greer needed time to either approach lawsuit investors or to fundraise.
Unclear Motion to Stay Effects

Greer was unsure of the effects of a motion to stay. His research yielded nothing, but it was

implied that a motion to stay pauses any other motions. This reasoning made sense, as why would

Greer answer motions that he was trying to stay the case to bring skilled attorneys on to answer?
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Second Adverse Ruling from the D. Of Utah

For the second time in 3 years, the District of Utah ruled against Greer, denied the motion to
stay and immediately ordered the case transferred, thus effectively ending the case in Utah. At no
point, did the District of Utah pause to consider, prior to transferring, that Plaintiff may have
been confused at some point. There was no justice, mercy or understanding. The Court wrongly
interpreted Plaintiff's confusion as not participating, when the docket clearly showed Plaintiff
answering different notices from Defendants all through February and March, proving that
plaintiff was in fact confused on if the case was momentarily stayed.

Further, by the District of Utah hastily transferring the case, it violated long-established 10"
Circuit precedent by not staying its order to allow a “long enough time...for an aggrieved party to
file a mandamus petition.” Chrysler Credit Corp v. Country Chrysler, 928 F. 2d 1509 (10th
Circuit 1991).

And now here we are: in the Northern District of Florida.

REQUEST TO EXTEND DEADLINES TO RESPOND TO DOCS 62-66 AND 68

Because Plaintiff was very sincerely confused regarding a motion to stay, he did not get the
chance to respond to any of the pending motions that are Docs 62-66 and 68.

Plaintiff now requests new deadlines to be set for him to answer the following motions: (1)
Motion for Joinder, (2) Motion to Strike, (3) Motion for More Definite Statement, (4) Motion to
Substitute Parties.

Plaintiff also requests to respond to Defendant’s Answer to the Complaint.

GOOD CAUSE EXISTS FOR EXTENSION

Good cause exists to grant this second extension. The good cause is that Plaintiff was sincerely
confused about the motion to stay. If plaintiff was confident back in February to answer the
motions, he would have. But he was scared that the case would get tossed or transferred —

which is what happened.
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Plaintiff apologizes for his confusion and promises to meet the second extension of deadlines.
Justice and Fairness

Another reason exists to extend the deadlines: plaintiff's life hangs in the balance of this case.
If he loses this case, Joshua Connor Moon and his followers will harass and stalk Plaintiff for the
rest of his life. Kiwi Farms needs to stop. A district court ruling against the site and its owner
will be the only way Moon will stop.

Plaintiff has tried negotiating with Defendants’ counsel and Hardin refuses to settle.

The 10 Circuit confirmed that Kiwi Farms has been a detriment to society. Plaintiff begs this
Court to see this too by extending the deadlines for the sake of justice and fairness.

PROPOSED DEADLINE

Plaintiff proposes a deadline of June 15th to respond to the Defendants’ Motions and to Reply
to the Answer.

If the Court is unsatisfied with that date, it is requested that the Court set reasonable deadlines
to respond to the pending motions.

CONCLUSION

With the harm Kiwi Farms has done to others recited herein, and with the honest confusion
relayed as to why Plaintiff never initially responded, it is kindly requested that Plaintiff have a

chance to respond to the pending motions and to the answer by June 15".

Respectfully submitted,

By:

Russell Greer
Pro Se Litigant
/rgreer

05-04-24
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Certificate of Service

Plaintiff affirms that service was made to Defendants via email on 5-4-24 and that said attorney
for defendants is Matthew Hardin.
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EXHIBIT A
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' The Virgin vs Chad meme Ma
explained

Chloe Sagal/GoFundMe

Transgender game developer
who'd been bullied online dies by
suicide

She had reportedly been the target of an

online community known for harassment.

Josh Katzowitz Internet Culture

Posted on Jun 25, 2018 Updated on May 21, 2021,
12:42 pm CDT

A transgender woman took her own life by

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AA @ dailydot.com x

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SUBSCRIBE ~NEW,VORK. SIGN IN

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SELECT ALL | JULY 19, 2016

Kiwi Farms, the Web's

Biggest Community of
Stalkers

By Margaret Pless

AA @ nymag.com x

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TRENDING: KRISTI NOEM BIDEN HOWARD STERN :

TECHNOLOGY

Why anti-trans web forum
Kiwi Farms was erased
from the internet

BY BRAD DRESS - 09/15/22 6:00 AM ET

Correction: A previous version of this article
misstated the year of Julie Terryberry’s death.
She died in 2016. This article has been
updated to reflect that content related to the
Christchurch, New Zealand, shootings was
republished on Kiwi Farms.

In 2013, users on an online trolling and
harassment chat forum known as Kiwi Farms
beaan a hate campaian aaainst Chloe Saaal.

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Se Nionde ®)

Decoding Kiwi Farms, the
blocked Internet bully that
continues to be a nuisance

The English-speaking site, which has been the
source of many violent and long-running
harassment campaigns targeting Internet
celebrities, has been cut off by hosting
services like Cloudflare and DDoS-Guard.

Le Monde
Published on September 5, 2029, at 6:26 pm (Paris),
updated on September 5, 2022, at 7:40 pm - © 1 min.

Lire en francais

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EXHIBIT B

14
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2:45€ ot) LTE 33%

A man contacted by New Zealand Police
with regards to Christchurch terror attack
content being posted on his website has
responded aggressively and mockingly.

Joshua Conner Moon, operator of Kiwi Farms,
referred to Aotearoa as a "shithole country"
with "f****t law" in an email he says he sent to
a Detective Senior Sergeant.

Despite having 'Kiwi' in its name, the website
has no association with New Zealand; rather,
the name was adapted from its former title of
‘CWCki Forums’.

¢ ‘This is New Zealand' - Muslim
woman reflects on past racist
attacks in NZ

* Intelligence agencies turned blind
eye to far-right extremism in NZ -

experts

A spokesperson for the New Zealand police
confirmed to Newshub that Kiwi Farms has
been contacted as part of its ongoing
investigation into the Christchurch terror

@ newshub.co.nz

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“Tell your superiors they're going to make the
entire country and its government look like
clowns by trying to censor the internet. You're
a small, irrelevant island nation barely more
recognisable than any other nameless pacific
sovereignty [sic]," Moon says in his email.

“You do not have the clout to eradicate a
video from the internet and you do not have
the legal reach to imprison everyone whose
posted it. If anyone turns over to you the
information they're asking for they're not only
cowards, but they're f**king idiots."

¢ Need to Talk? - Call or text 1737

Kiwi Farms is a notorious website which
Originated as a spinoff from controversial
imageboard 4chan.

A profile on V/Y Mags Intelligencer describes
Kiwi Farms as "the web's biggest community
of stalkers", recounting how it was developed
by a group of people to harass author
Christine Weston Chandler.

"Kiwi Farms is about eccentric individuals and

@ newshub.co.nz

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